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                        OBJECTIONS TO EX-U.S. AND HERNIA MESH DISCOVERY

                                  Request for Production Responses

Supplemental Response to Request for Production No. 2

   -   Objects to documents related to hernia mesh products, which are subject to a meet and confer
       with the Plfs

Supplemental Response to Request for Production No. 11

   -   Objects to documents including those related to hernia mesh products

Supplemental Response to Request for Production No. 15

   -   Objects to documents including those related to hernia mesh products. Engaging in a meet and
       confer with the Plfs

Supplemental Response to Request for Production No. 16

   -   Objects to documents including those related to hernia mesh products
   -   Objects to documents relating to foreign activities or any non-US entities that are located
       outside the United States
   -   Involved in a meet and confer process with Plfs

Supplemental Response to Request for Production No. 17

   -   Objects to documents including those related to hernia mesh products
   -   Objects to documents relating to foreign activities or any non-US entities. Ethicon is involved in
       an ongoing meet and confer with Plfs on this issue.

Supplemental Response to Request for Production No. 21

   -   Objects to documents relating to foreign activities or any non-US entities that are located
       outside the United States
   -   Ethicon and Plfs continue to meet and confer concerning non-US documents

Supplemental Response to Request for Production No. 22

   -   Objects to documents relating to foreign activities or any non-US entities that are located
       outside the United States
   -   Ethicon and Plfs continue to meet and confer concerning non-US documents

Supplemental Response to Request for Production No. 23

   -   Objects to documents relating to foreign activities or any non-US entities that are located
       outside the United States
   -   Ethicon and Plfs continue to meet and confer concerning non-US documents

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Supplemental Response to Request for Production No. 24

   -   Objects to documents relating to foreign activities or any non-US entities that are located
       outside the United States
   -   Ethicon and Plfs continue to meet and confer concerning non-US documents

Supplemental Response to Request for Production No. 25

   -   Objects to documents including those related to hernia mesh products
   -   Objects to documents relating to foreign activities or any non-US entities that are located
       outside the United States
   -   Ethicon and Plfs continue to meet and confer concerning non-US documents

Supplemental Response to Request for Production No. 26

   -   Objects to documents including those related to hernia mesh products
   -   “PROLIFT hernia mesh system” does not exist

Supplemental Response to Request for Production No. 28

   -   Objects to documents including those related to hernia mesh products

Supplemental Response to Request for Production No. 29

   -   Objects to documents including those related to hernia mesh products
   -   Parties are currently involved in a meet and confer process concerning hernia mesh documents

Supplemental Response to Request for Production No. 47

   -   Objects to documents including those related to hernia mesh products

Supplemental Response to Request for Production No. 48

   -   Objects to documents including those related to hernia mesh products
   -   Ethicon and Plfs continue to meet and confer concerning the scope of production concerning
       hernia mesh products

Supplemental Response to Request for Production No. 60

   -   Objects to documents relating to foreign activities or any non-US entities that are located
       outside the United States
   -   Parties continue to meet and confer concerning the scope of production of documents located
       outside of the US

Supplemental Response to Request for Production No. 65

   -   Objects to documents relating to foreign activities or any non-US entities that are located
       outside the United States

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   -   Parties continue to meet and confer concerning the scope of production of documents located
       outside the US

Supplemental Response to Request for Production No. 67

   -   Objects to documents including those related to hernia mesh products

Supplemental Response to Request for Production No. 78

   -   Objects to documents including those related to hernia mesh products

Supplemental Response to Request for Production No. 79

   -   Objects to documents including those related to hernia mesh products

Supplemental Response to Request for Production No. 80

   -   Objects to documents including those related to hernia mesh products

Supplemental Response to Request for Production No. 82

   -   Objects to documents relating to foreign activities or any non-US entities that are located
       outside the United States
   -   Ethicon and Plfs continue to meet and confer concerning this issue




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                                         Interrogatory Responses

Supplemental Response to Interrogatory 1

   -   Objects to interrogatory relating to foreign regulatory submissions
   -   Ethicon is currently working with Plfs to narrow and prioritize the scope of foreign regulatory
       production

Supplemental Response to Interrogatory 9

   -   Objects to interrogatory relating to foreign regulatory activities
   -   Ethicon is continuing to meet and confer with Plfs concerning foreign regulatory submissions

Supplemental Response to Interrogatory 22

   -   Objects to the production of information regarding hernia mesh




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